     Case 2:18-cr-00232-TOR    ECF No. 867    filed 09/03/20   PageID.6102 Page 1 of 2




 1   William D. Hyslop
 2   United States Attorney
     Eastern District of Washington
 3   Brian M. Donovan
 4   Assistant United States Attorney
     Post Office Box 1494
 5   Spokane, WA 99210-1494
 6   Telephone: (509) 353-2767
 7
                         UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHINGTON
 9
     UNITED STATES OF AMERICA,                    No.: 2:18-CR-00232-TOR-12
10
11                           Plaintiff,           NOTICE OF SATISFACTION OF
12                                                JUDGMENT
                  vs.
13
14   RICHARD RONALD WELLS,
15                          Defendant.
16
17         Plaintiff, United States of America, by and through William D. Hyslop,

18   United States Attorney for the Eastern District of Washington, and Brian M.
19   Donovan, Assistant United States Attorney for the Eastern District of Washington,
20   hereby gives notice that Defendant, RICHARD RONALD WELLS, has satisfied
21   and paid the $179,876.56 forfeiture money judgment ordered by the Court on
22   February 5, 2020 (ECF No. 816 at 6).
23         DATED: September 3, 2020.
24
                                                 William D. Hyslop
25                                               United States Attorney
26
                                                 s/ Brian M. Donovan
27
                                                 Brian M. Donovan
28                                               Assistant United States Attorney



     NOTICE OF SATISFACTION OF JUDGMENT - 1
     Case 2:18-cr-00232-TOR      ECF No. 867     filed 09/03/20   PageID.6103 Page 2 of 2




 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that on September 3, 2020, I electronically filed the
 3
 4   foregoing with the Clerk of the Court using the CM/ECF system which will send
 5   notification of such filing to the following:
 6
 7   Kevin J. Curtis
     Attorney for Defendant Richard Ronald Wells
 8   kjc@winstoncashatt.com
 9
                                                     s/ Brian M. Donovan
10                                                   Brian M. Donovan
11                                                   Assistant United States Attorney
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     NOTICE OF SATISFACTION OF JUDGMENT - 2
